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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

       In Re: KATRINA CANAL BREACHES          )             CIVIL ACTION
              CONSOLIDATED LITIGATION         )             NO. 05-4182 “K” (2)
                                              )             JUDGE DUVAL
                                              )             MAG. WILKINSION
                                              )
__________________________________________)
                                              )
      PERTAINS TO: State of Lousiana (06-3552))
                                              )
__________________________________________)

      DEFENDANT UNITED STATES’ MOTION TO DISMISS PLAINTIFFS’
                    FIRST AMENDED COMPLAINT
       Defendants United States of America, United States Army Corps of Engineers and
Francis J. Harvey, Secretary of the Army, respectfully submit this Motion to Dismiss
pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure. As set forth in the
accompanying Memorandum of Points and Authorities, the Court lacks jurisdiction over each
claim in Plaintiffs’ First Amended Complaint. Accordingly, Plaintiffs’ First Amended
Complaint should be dismissed with prejudice.

November 13, 2006                           Respectfully submitted,
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